506 F.2d 701
    UNITED STATES of America, Appellee,v.Marshall monroe DEAN, Appellant.UNITED STATES of America, Appellee,v.Michael Roy COFFEY, Appellant.
    Nos. 73-2275, 73-2292.
    United States Court of Appeals, Fourth Circuit.
    Submitted on briefs Oct. 29, 1974.Decided Nov. 8, 1974.
    
      John A. Field, III, U.S. Atty., Ray L. Hampton, II, Asst. U.S. Atty., on brief for appellee in Nos. 73-2275 and 73-2292.
      James C. Cain, Bluefield, W. Va., on brief for appellant in No. 73-2275.
      Joseph M. Sanders, Jr., Bluefield, w. Va.  (Sanders &amp; Blue, Bluefield, W. Va.), on brief for appellant in No. 73-2292.
      Before BOREMAN, Senior Circuit Judge, and WINTER and WIDENER, Circuit judges.
      PER CURIAM:
    
    
      1
      The sole and identical question raised by the defendant in each of these cases is whether the word 'minority' as used in 18 U.S.C. 5034, prior to the 1974 Amendments to the Juvenile Delinquency Act, refers to a person who has not attained his twenty-first birthday, or whether it refers to a person who has not attained his eighteenth birthday.
    
    
      2
      In United States v. Shaver, 506 F.2d 699 (4th Cir., 1974), we have decided that the word 'minority' as so used refers to a person who has not attained his twenty-first birthday, and we so hold here.
    
    
      3
      Accordingly, in each of these cases, we dispense with oral argument and affirm the decision of the district court.
    
    
      4
      Affirmed.
    
    